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                                              March 31, 2025

VIA ELECTRONIC FILING

Hon. Miroslav Lovric, U.S. Magistrate Judge
Federal Building and U.S. Courthouse
15 Henry Street
Binghamton, New York 13901

       Re.     The Research Foundation for the State Univ. of N.Y. v. Inpria Corp., Civil Action
               No.: 1:24-CV-120 (BKS/ML)

Dear Magistrate Judge Lovric,

       My office, together with Paul Hastings LLP, represents Defendants Inpria Corp. and JSR
Corp. in the above-referenced matter. On March 27, 2025, following the Rule 16 Conference in
this matter, the Court issued Uniform Pretrial Scheduling Order together with a Docket Text entry
which reflected “Preferred Trial Location: Albany.”

        However, this was an issue upon which the parties did not agree in the proposed Civil Case
Management Plan. See Dkt. No. 118, pp. 4-5. In particular, Defendants’ position is that any trial
in this action would be most appropriately located in Syracuse where Judge Sannes and her staff
are based. While Plaintiff expressed a preference for Albany, our notes reflect that in response to
the parties’ disagreement, the Court indicated in the conference that the question of the trial
location would be deferred until a later date. If the Court agrees that, in fact, that is what was
decided, we write to respectfully request that the Docket Text be modified to remove this entry or,
in the alternative, to substitute the following:

                  Preferred Trial Location: To Be Determined At A Later Date

        While we understand that the Docket Text does not definitively determine the place of trial,
we wish to ensure that the entry is not misinterpreted as representing the Court’s decision on the
matter.


                                     Respectfully submitted,

                                HANCOCK ESTABROOK, LLP
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                                        Mary L. D’Agostino

cc:     Plaintiff’s Counsel (via ECF)
